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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA

                                    Case No. ________________

 PREPARED FOOD PHOTOS, INC.,
 f/k/a ADLIFE MARKETING & COMMUNICATIONS CO., INC.,

          Plaintiff,

 v.

 CLYDE’S CHICKEN KING, INC. d/b/a CHICKEN KING,

          Defendant.


                                           COMPLAINT

         Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing & Communications Co., Inc.

(“Plaintiff”) sues defendant Clyde’s Chicken King, Inc. d/b/a Chicken King (“Defendant”), and

alleges as follows:

                                          THE PARTIES

         1.      Plaintiff is a corporation organized and existing under the laws of the State of

Florida with its principal place of business located in Broward County, Florida.

         2.      Defendant is a corporation organized and existing under the laws of the State of

Louisiana with its principal place of business located at 17560 Hwy. 190, Port Barre, LA 70577.

Defendant’s agent for service of process is John Clyde Deville, Jr., 1490 P Z Rd., Ville Platte, LA

70586.

                                  JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).
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       4.        This Court has personal jurisdiction over Defendant because it has maintained

sufficient minimum contacts with Louisiana such that the exercise of personal jurisdiction over it

would not offend traditional notions of fair play and substantial justice.

       5.        Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a) because

Defendant or its agents reside or may be found in this district. “It is well established that, for

purposes of Section 1400(a), a defendant ‘may be found’ in any district in which it is subject to

personal jurisdiction.” Isbell v. DM Records, Inc., No. 3:02-CV-1408-G, 2004 U.S. Dist. LEXIS

10394, at *41 (N.D. Tex. June 4, 2004) (“Because the court has determined that it has

personal jurisdiction over DM, DM ‘may be found’ in this district and venue is therefore proper.”).

                                               FACTS

I.     Plaintiff’s Business

       6.        Plaintiff is in the business of licensing high-end, professional photographs for the

food industry.

       7.        Through its commercial website (www.preparedfoodphotos.com), Plaintiff offers

a monthly subscription service which provides access to/license of tens of thousands of

professional images.

       8.        Plaintiff charges its clients (generally, grocery stores, restaurant chains, food

service companies, etc.) a minimum monthly fee of $999.00 for access to its library of professional

photographs.

       9.        Plaintiff does not license individual photographs or otherwise make individual

photographs available for purchase. Plaintiff’s business model relies on its recurring monthly

subscription service such that Plaintiff can continue to maintain its impressive portfolio.

       10.       Plaintiff owns each of the photographs available for license on its website and



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serves as the licensing agent with respect to licensing such photographs for limited use by

Plaintiff’s customers. To that end, Plaintiff’s standard terms include a limited, non-transferable

license for use of any photograph by the customer only. Plaintiff’s license terms make clear that

all copyright ownership remains with Plaintiff and that its customers are not permitted to transfer,

assign, or sub-license any of Plaintiff’s photographs to another person/entity.

II.       The Work at Issue in this Lawsuit

          11.   In 2005, a professional photographer employed and/or contracted by Plaintiff

created a photograph of fried chicken in a basket titled “ChickenFried013” (the “Work”). A copy

of the Work is displayed below:




          12.   The Work was registered by Plaintiff (pursuant to a work-for-hire agreement with

the author that transferred all rights and title in the photograph to Plaintiff) with the Register of

Copyrights on September 20, 2016 and was assigned Registration No. VA 2-017-741. A true and

correct copy of the Certificate of Registration pertaining to the Work is attached hereto as Exhibit

“A.”

          13.   Plaintiff is the owner of the Work and has remained the owner at all times material

hereto.




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III.    Defendant’s Unlawful Activities

        14.    Defendant is a local chicken restaurant that offers daily fried chicken buckets,

home-cooked plated lunches, and combo meals in the Porte Barre and Opelousas, LA

communities.

        15.    Defendant advertises/markets its business primarily through its website

(http://chickenkingla.com/),                 social                 media                  (e.g.,

https://www.facebook.com/profile.php?id=100057633932082                                      and

https://www.facebook.com/profile.php?id=100063773283815), and other forms of advertising.

        16.    On a date after Plaintiff’s above-referenced copyright registration of the Work,

 Defendant displayed and/or published the Work on its website, webpage, and/or social media (at

 http://chickenkingla.com/products.html):




        17.    A true and correct copy of the screenshot of Defendant’s website, webpage, and/or

 social media, displaying the copyrighted Work, is attached hereto as Exhibit “B.”

        18.    Defendant is not and has never been licensed to use or display the Work. Defendant


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never contacted Plaintiff to seek permission to use the Work in connection with its website,

webpage, social media – even though the Work that was copied is clearly professional stock

photography that would put Defendant on notice that the Work was not intended for public use.

      19.     Defendant utilized the Work for commercial use.

      20.     Upon information and belief, Defendant located a copy of the Work on the internet

and, rather than contact Plaintiff to secure a license, simply copied the Work for its own

commercial use.

      21.     Through its ongoing diligent efforts to identify unauthorized use of its photographs,

Plaintiff discovered the Defendant’s unauthorized use/display of the Work on August 11, 2022.

Following Plaintiff’s discovery, Plaintiff notified Defendant in writing of such unauthorized use.

To date, Plaintiff has been unable to negotiate a reasonable license for the past/existing

infringement of its Work.

      22.     All conditions precedent to this action have been performed or have been waived.

                        COUNT I – COPYRIGHT INFRINGEMENT

      23.     Plaintiff re-alleges and incorporates paragraphs 1 through 22 as set forth above.

      24.     Each photograph comprising the Work is an original work of authorship,

embodying copyrightable subject matter, that is subject to the full protection of the United States

copyright laws (17 U.S.C. § 101 et seq.).

      25.     Plaintiff owns a valid copyright in each photograph comprising the Work, having

registered the Work with the Register of Copyrights and owning sufficient rights, title, and

interest to such copyright to afford Plaintiff standing to bring this lawsuit and assert the claim(s)

herein.

      26.     As a result of Plaintiff’s reproduction, distribution, and public display of the Work,



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Defendant had access to the Work prior to its own reproduction, distribution, and public display

of the Work on Defendant’s website, webpage, and/or social media.

      27.     Defendant reproduced, distributed, and publicly displayed the Work without

authorization from Plaintiff.

      28.     By its actions, Defendant infringed and violated Plaintiff’s exclusive rights in

violation of the Copyright Act, 17 U.S.C. § 501, by reproducing, distributing, and publicly

displaying the Work for its own commercial purposes. Defendant’s infringement was either

direct, vicarious, and/or contributory.

      29.     Defendant’s infringement was willful as it acted with actual knowledge or reckless

disregard for whether its conduct infringed upon Plaintiff’s copyright. Notably, Defendant itself

utilizes a copyright disclaimer on its website (“Copyright © Chicken King, 2022. All rights

reserved.”), indicating that Defendant understands the importance of copyright protection and

intellectual property rights and is actually representing that it owns each of the photographs

published on its websites. See, e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-

TWP-DLP, 2018 U.S. Dist. LEXIS 127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he willfulness

of ROI’s infringement is evidenced by the fact that at the bottom of the webpage on which the

Indianapolis photograph was unlawfully published appeared the following: ‘Copyright © 2017.’

By placing a copyright mark at the bottom of its webpage that contained Mr. Bell’s copyrighted

Indianapolis Photograph, Mr. Bell asserts ROI willfully infringed his copyright by claiming that

it owned the copyright to everything on the webpage.”); John Perez Graphics & Design, LLC v.

Green Tree Inv. Grp., Inc., Civil Action No. 3:12-cv-4194-M, 2013 U.S. Dist. LEXIS 61928, at

*12-13 (N.D. Tex. May 1, 2013) (“Once on Defendant’s website, Defendant asserted ownership

of Plaintiff's Registered Work by including a copyright notice at the bottom of the page. Based



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on these allegations, the Court finds Plaintiff has sufficiently pled a willful violation….”).

Defendant clearly understands that professional photography such as the Work is generally paid

for and cannot simply be copied from the internet.

      30.       Defendant’s willfulness is further demonstrated by the fact that Defendant has

refused and/or failed to remove the Work from its website notwithstanding at least eight (8)

communications sent to Defendant (via phone and email) notifying it of the infringement and

demanding that the Work be removed from Defendant’s website. See, e.g. Prepared Food Photos,

Inc. v. Perry Wings Plus, Inc., No. 22-CV-61883-RAR, 2022 U.S. Dist. LEXIS 227304, at *10

(S.D. Fla. Dec. 19, 2022) (“Defendant’s refusal to remove Plaintiff’s Work after nearly a dozen

communication attempts demonstrates Defendant’s willfulness.”); Burch v. Nyarko, 2007 U.S.

Dist. LEXIS 55345, at *3 (S.D.N.Y. July 30, 2007) (“Nyarko’s conduct throughout this action –

reflected in his refusal to talk to Plaintiff, to remove the photographs promptly from the website,

and to respond to this suit – supported a finding of willfulness under 17 U.S.C. § 504©(2).”);

Schwabel v. HPT Serv., LLC, No. 3:17-cv-791-J-34JBT, 2018 U.S. Dist. LEXIS 171820, at *10

n.8 (M.D. Fla. Sep. 6, 2018) (“Because Defendant failed to remove the Photograph from the

subject sites after Plaintiff demanded that he do so, the undersigned recommends that the

infringements were willful.”). As of the date of this filing, the Work is still published on

Defendant’s website.

      31.       Plaintiff has been damaged as a direct and proximate result of Defendant’s

infringement.

      32.       Plaintiff is entitled to recover its actual damages resulting from Defendant’s

unauthorized use of the Work and at Plaintiff’s election (pursuant to 17 U.S.C. § 504(b)), Plaintiff

is entitled to recover damages based on a disgorgement of Defendant’s profits from infringement



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of the Work, which amounts shall be proven at trial.

      33.     Alternatively, and at Plaintiff’s election, Plaintiff is entitled to statutory damages

pursuant to 17 U.S.C. § 504(c), in such amount as deemed proper by the Court.

      34.     Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its costs and

attorneys’ fees as a result of Defendant’s conduct.

      35.     Defendant’s conduct has caused, and any continued infringing conduct will

continue to cause, irreparable injury to Plaintiff unless enjoined by the Court. Plaintiff has no

adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff is entitled to a permanent

injunction prohibiting infringement of Plaintiff’s exclusive rights under copyright law.

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

  a. A declaration that Defendant has infringed Plaintiff’s copyrights in the Work;

  b. A declaration that such infringement is willful;

  c. An award of actual damages and disgorgement of profits as the Court deems proper or, at

      Plaintiff’s election, an award of statutory damages for willful infringement up to

      $150,000.00 for each photograph comprising the Work;

  d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17 U.S.C. § 505;

  e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing amounts;

  f. Permanently enjoining Defendant, its employees, agents, officers, directors, attorneys,

      successors, affiliates, subsidiaries and assigns, and all those in active concert and

      participation with Defendant, from directly or indirectly infringing Plaintiff’s copyrights

      or continuing to display, transfer, advertise, reproduce, or otherwise market any works

      derived or copied from the Work or to participate or assist in any such activity; and

  g. For such other relief as the Court deems just and proper.



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                                      Demand For Jury Trial

Plaintiff demands a trial by jury on all issued so triable.

Dated: March 8, 2024.                              GIEGER, LABORDE & LAPEROUSE, LLC
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                                                   By: /s/ John E. W. Baay II________________
                                                           John E.W. Baay II
                                                           LA Bar Number 22928




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